  Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 1 of 57




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



CONRAD SMITH, et. al.,            )
                                  )
                Plaintiffs,       )
                                  )
  v.                              )
                                  )    Civil Case No. 21-2265
DONALD J. TRUMP, et al.,          )
                                  )
                Defendants.       )
                                  )
                                  )


          DEFENDANTS DONALD J. TRUMP, DONALD J. TRUMP FOR
       PRESIDENT INC., AND MAKE AMERICA GREAT AGAIN PAC’S
       MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS




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                                           Again PAC
          Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 2 of 57




                                              TABLE OF CONTENTS

I.         The Constitution Forecloses All of Plaintiffs’ Claims Against
           President Trump. ................................................................................................. 9
       a. Absolute immunity bars Plaintiffs’ claims against President Trump .............. 9
       b. The political question doctrine bars Plaintiffs’ claims against President Trump.
                   14
       c. Res judicata and collateral estoppel foreclose Plaintiffs’ claims ..................... 16
           1.       All of Plaintiffs’ claims arise from the same common nucleus of facts. 17

           2.       Plaintiffs are in privity with Congress. ................................................. 19

           3.       The Senate’s Impeachment trial is a final judgment on the merits issued
                    by a court of competent jurisdiction. ...................................................... 20

           4.       The Plain Meaning of the Impeachment Judgment Clause shows that
                    only an individual convicted is subject to follow-on litigation, and only
                    for criminal offenses. ............................................................................... 22

       d. Well-established First Amendment jurisprudence bars Plaintiffs’ claims based
          on President Trump’s protected political speech. ............................................ 24
           1.       President Trump’s speech constitutes petitioning activity undertaken in
                    his official capacity. ................................................................................. 25

           2.       President Trump’s speech fails to meet the standard for incitement
                    under Brandenburg v. Ohio. ................................................................... 26

           3.       Incitement is limited to true threats and a holding to the contrary would
                    subject anti-riot laws to facial challenges. ............................................. 28

           4.       Plaintiffs reading of § 1985 and arguing for liability would render the
                    statute unconstitutionally overbroad and vague................................... 29

II.        This Court Lacks Personal Jurisdiction Over the Trump Campaign and Make
           America Great Again, PAC. .............................................................................. 31
III.       Plaintiffs Have Failed to State a Claim............................................................ 34
       a. Plaintiffs do not allege a violation of 42 U.S.C. § 1985(1). .............................. 35
       b. Plaintiffs’ claim under 42 U.S.C. § 1986 fails as it is contingent upon stating a
          valid claim under § 1985. .................................................................................. 37
       c. Plaintiffs’ State law claims fail because their lawsuit is based on federal
          question jurisdiction, and their federal claims are insufficient. ..................... 38

                                                                    i
Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 3 of 57




1.        Bias-Related Crimes Act ......................................................................... 38

     A.       Plaintiffs fail to plead that President Trump was generally aware of
              his role in an illegal activity or that he provided the “substantial
              assistance” necessary for aiding and abetting liability. .................. 39

     B.       Plaintiffs fail to plead that other Defendants had an agency
              relationship with President Trump. ................................................. 41

     C.       Plaintiffs Fail to Plead Acts of Terrorism and Malicious Burning,
              Destruction, or Injury of Another’s Property. .................................. 42

     D.       Rioting and Inciting to Riot ............................................................... 43

2.        Assault, Battery, and Negligence ........................................................... 44




                                                      ii
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 4 of 57




                              TABLE OF AUTHORITIES

                                         Cases

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  187 A.2d 888, 889 (D.C. 1963)                                              25

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                                              i
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 5 of 57




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                                             ii
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 6 of 57




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  570 U.S. 693, 713 (2013)                                                          41

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  628 F.2d 168, 178 (D.C. Cir. 1980)                                                40

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                                               iii
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 7 of 57




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                                             iv
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 8 of 57




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                                             v
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 9 of 57




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                                             vi
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 10 of 57




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* U.S. Const. art. I, § 3, cl. 7                                                    22

* U.S. Const. art. I, § 4                                                            4

* U.S. Const. art. I, § 6, cl. 2                                                    36

* U.S. Const. art. II, § 1, cl. 2                                                   36

* U.S. Const. art. II, § 2, cl. 2                                                   35

       * Asterisks denotes authorities upon which Defendants principally rely.




                                                  vii
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 11 of 57




      Plaintiffs’ lawsuit suffers the same fatal deficiencies as a nearly identical one

already pending in this Court against President Trump by fellow Capitol Police

Officers.1 Plaintiffs’ Amended Complaint relies upon cherry-picked statements

intended to mischaracterize political speech as unlawful conspiracy. It is plagued

with an inability to differentiate a speaker’s words and intent from an unreasonable

interpretation of such speech by its hearers. And Plaintiffs simply ignore the absolute

immunity provided by the Constitution to President Trump.

      When determining whether a presidential act is covered by absolute immunity,

the Supreme Court has been clear: the appropriate question is only whether it is

within the “outer perimeter” of the President’s duties. In making this analysis, the

Court has determined only the nature of the presidential act is subject to review;

content-based determinations of motives underlying that act must be eschewed. Here,

the result is simple: the actions at issue, in this case, were within the outer perimeter

of President Trump’s office as it is a normal activity of a President to speak to

Americans in support of, or opposition to, congressional action. Courts are forbidden

from inquiring into the motives behind such political speech and from setting

regulations on the content of that speech. Consequently, the Constitution’s absolute

immunity doctrine protects President Trump from this lawsuit.

      Plaintiffs should be commended for their years of service and dedication to

serving as Capitol Police Officers. As President Trump has repeated many times,

attacks against law enforcement officials are unacceptable. Yet here, Plaintiffs are


      1
          See James Blassingame, et al. v. Donald J. Trump, Case No. 1:21-cv-00858.
                                               1
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 12 of 57




seeking to expand the scope of liability for the violent actions of third parties to cover

individuals whose words allegedly inspired their actions, which is in direct opposition

to our nation’s First Amendment jurisprudence. Liability rightfully lies only with

those individuals who chose to engage in violence, and Plaintiffs have ample

opportunity to obtain relief against the specific individuals actually responsible for

their injuries.

                                     BACKGROUND

         Donald J. Trump, the 45th President of the United States, is known for his

patriotic and inspiring speeches particularly resonating with those who feel forgotten

by Washington D.C.’s political establishment. His speeches draw immense crowds

but also scornful skepticism from political adversaries and most of the corporate news

media. Following the 2020 election, President Trump (among numerous others)

raised critical questions about the results of elections in several States. In the weeks

and months after the election, President Trump and his supporters engaged in

litigation, recounts, and appeals.

         Post-election challenges are common and made by candidates of both political

parties. For example, Ms. Rita Hart, a candidate for the U.S. House of

Representatives from Iowa’s 2nd Congressional District, contested the results of her

narrow loss for five months after the 2020 election.2 Ms. Hart’s petition for the U.S.




        Sarah Ferris & Ally Mutnick, Democrat drops election contest in Iowa house
         2

race,             POLITICO               (Mar.              31,              2021),
https://www.politico.com/news/2021/03/31/democrat-drops-election-contest-in-iowa-
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                                           2
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 13 of 57




House of Representatives to overturn the results of her District’s election followed a

fully certified election and a recount under Iowa State law. This is much different

than President Trump’s election challenges, which took place while he and his team

were litigating and challenging results that were not yet certified.

      There is ample historical precedent for challenging the certification of electors.

Democratic members of Congress challenged the certification of electors after the

2000, 2004, and 2016 elections. In 2000, Representatives Maxine Waters and Barbara

Lee objected to counting Florida’s electoral votes. See 147 Cong. Rec. H35 (daily ed.

Jan. 6, 2001) (statements of Reps. Waters and Lee). In 2004, Representatives Barbara

Lee and Jerrold Nadler objected to counting electoral votes from Ohio and voted to

object to the certification of Ohio’s certified electors. See 151 Cong. Rec. H110 (daily

ed. Jan. 6, 2005) (statement by Rep. Lee); 151 Cong. Rec. H110–11 (daily ed. Jan. 6,

2005) (statements by Reps. Nadler and Lee regarding alleged voting irregularities).

And in 2016, Democratic representatives challenged nine States’ electoral votes—

more than Republicans challenged after the 2020 election. See 163 Cong. Rec. H186–

87, 189 (daily ed. Jan. 6, 2017) (statements of Reps. Jayapal, Lee, and Waters).

      Presidents are expected to take advantage of the bully pulpit. As our nation’s

chief executive, Presidents routinely comment on election results and petition

Congress to act (or refrain from acting) in various ways. After the 2020 election,

President Trump believed there had been a failure to secure our nation’s election

procedures, and he made this sentiment known. As part of his constitutional duty to

ensure the laws be faithfully executed, President Trump tried to inspire Congress to

                                              3
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 14 of 57




postpone certifying election results until various lawsuits challenging those results

concluded. Unlike Plaintiffs’ characterization, the rally at the Ellipse was not an

attempt to inspire a riot to interfere with Congress. Instead, it was a gathering of

individuals who believed state executive branches had violated the Constitution by

changing election procedures under assumed emergency powers when that power

belongs only to state legislatures and who wanted Congress to understand the gravity

of the violations and vote accordingly. See U.S. Const. art. I, § 4.

      Plaintiffs allege President Trump’s speech, which expressed his strongly-held

belief in the insecurity of an election conducted through last minute, hastily

implemented mail-in voting procedures, amounted to the dissemination of fraudulent

claims about election integrity intended to incite others. See Am. Compl. ¶¶ 50–52.

Yet, as Plaintiffs should know, the content of speech is not something courts have the

authority to adjudicate. Moreover, it is not the effect on or subsequent actions of the

listeners that is relevant to a court’s inquiry. See Brandenburg v. Ohio, 395 U.S. 444,

449 (1969).

      Plaintiffs further allege President Trump’s statements and lawsuits

challenging election results were intended to delegitimize the election and cause his

followers to be angry and violently prevent anyone else from assuming the

presidential office in the event he lost the election. Am. Compl., ¶¶ 54, 64. To support

this claim, Plaintiffs flatly (and incorrectly) allege President Trump knew some of his

supporters were advocating for violence. Id. at ¶ 58.




                                               4
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 15 of 57




       This imputation of knowledge and liability, however, is not in line with our

nation’s First Amendment jurisprudence—our legal standard has consistently

required intent on the part of the speaker to incur liability. See Morse v. Frederick,

551 U.S. 393, 442–43 (2007) (Stevens, J., dissenting) (quoting Thomas v. Collins, 323

U.S. 516, 535 (1945)); Ashcroft v. Free Speech Coal., 535 U.S. 234, 253 (2002).

Moreover, individuals need not disavow misinterpretations of their speech by others

to shield themselves from liability, as Plaintiffs’ argument seems to insinuate. See

Brandenburg, 395 U.S. at 447-48 (distinguishing third-party actions subsequent to

speech for which a proponent can and cannot be held responsible); Noto v. United

States, 367 U.S. 290, 297 (1961) (pointing to the “distinction between the statement

of an idea which may prompt its hearer to take unlawful action, and advocacy that

such action be taken.”) (internal citations omitted); Am. Compl., ¶ 60.

       Following Plaintiffs’ theory of liability would drastically chill political speech

because public officials and candidates for public office could be held legally

accountable if their supporters misinterpret, or otherwise use, their passionate or

fiery rhetoric and decide to carry out acts of violence or other illegal activity.

       Falling into the same cherry-picking behavior as in Blassingame, Plaintiffs

here allege President Trump intimidated and threatened state and local election

officials by merely retweeting a statement made by one of his many lawyers stating

that those officials would “soon be going to jail.” Id. at ¶ 70. Plaintiffs also try to paint

the President’s challenge to the election results as racist, even though state




                                                 5
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 16 of 57




procedures were the target of the President’s discontent and not individual cities or

persons as Plaintiffs insinuate. Id. at ¶ 68.

       Further, numerous allegations have no factual basis whatsoever, such as the

claim that President Trump “openly threatened violence” by posting tweets

“suggest[ing] his supporters would revolt and resort to violence if he lost the election.”

Id. at ¶ 71. The statements Plaintiffs use to support their allegation are President

Trump saying this is “a very dangerous moment in our history” and people are “not

going to stand having this Election stolen from them.” Id.

       Under no stretch of the imagination can those statements be characterized as

open threats of violence. Because Plaintiffs’ Amended Complaint is based on a

misunderstanding of the standard for liability for protected speech, especially that of

a President when acting within the outer perimeter of his official duties, their claims

involving President Trump must be dismissed, particularly as they fail to allege any

factual basis for inferring any improper agreements between President Trump and

anyone who chose to engage in unlawful rioting.

       While President Trump is a vocal proponent of election integrity, he also is

strongly committed to public safety and law and order. Indeed, the Senate Homeland

Security and Governmental Affairs Committee released a staff report (“HSGA

Report”) exonerating President Trump of involvement in the January 6 security

failures.3


       Staff of S. Comm. on Homeland Sec. & Gov’t Affs., 117th Cong. Rep. on
       3

Examining The U.S. Capitol Attack: A Review of the Security, Planning, And
Response Failures on January 6 (Jun. 7, 2021).
                                           6
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 17 of 57




      In pertinent parts, the HSGA Report found that President Trump had

delegated the ability to use emergency powers. President Trump designated a lead

federal agency to deal with the security concerns around the January 6 counting of

electoral ballots, and President Trump personally asked if the security was ready on

January 3.4 These are not the actions of a co-conspirator attempting to undermine

security, but rather the actions of a leader concerned with ensuring security is

properly in place.

      Notwithstanding Plaintiffs’ actually deficient allegations and insinuations of

conspiracy, investigations by the Federal Bureau of Investigation (“FBI”) and the

Senate Homeland Security and Governmental Affairs Committee rebuffed Plaintiffs’

contentions of wrongdoing by Trump Administration officials. “The FBI has found

scant evidence the Jan. 6 attack on the U.S. Capitol was the result of an organized

plot to overturn the presidential election result.”5

                                     ARGUMENT

      Despite the Senate Homeland Security and Governmental Affairs Committee

Report finding President Trump made efforts to guarantee, not undermine, Capitol

security; an FBI report of scant evidence of any coordinated action by the rioters, let

alone with President Trump; and a Senate Impeachment Court finding President

Trump did not incite any riot, Plaintiffs still attempt to bring a nearly identical—and


      4
          Id. at 77.
      5
        Mark Hosenball & Sarah N. Lynch, Exclusive: FBI finds scant evidence U.S.
Capitol    attack     was    coordinated,      REUTERS       (Aug.    20,     2021),
https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-
attack-was-coordinated-sources-2021-08-20/.
                                            7
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 18 of 57




equally flawed—lawsuit to the one filed by their coworkers alleging President Trump

is responsible for causing the riots of January 6. See Am. Compl. ¶ 5; Blassingame et

al. v. Donald J. Trump, Case No. 1-21-cv-00585. This lawsuit is doomed to fail for

similar reasons and is even weaker because it comes after additional reports and

findings of the Senate Committee and FBI that there is scant evidence of any

coordination behind the January 6 riot.

      Plaintiffs base their claims on out-of-context (and, indeed, sometimes provably

false) political speech and expression made by the President before, during, and after

the November 2020 election. This attempt to foist liability on the President for the

actions of individuals who were allegedly inspired to act because of his political

speech flies in the face of over a century of First Amendment jurisprudence that

requires intent on the part of the speaker for liability to attach. A holding to the

contrary would not only upset the Constitution’s separation of powers balance but

also would irreparably harm our political system by creating an environment where

candidates for public office would be on the hook for tortious or criminal actions of

individuals who, as Plaintiffs claim, were inspired by the candidate’s rhetoric. Such

a holding would be even more concerning for the Office of the President. As a visible

and necessarily vocal public figure for our entire country, the President, regardless

of political party, would be the target of endless litigation if it were allowed.

      The functioning of our Republic depends upon protecting the free expression of

political speech. “[I]f there is any principle of the Constitution that more imperatively

calls for attachment than any other it is the principle of free thought—not free

                                               8
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 19 of 57




thought for those who agree with us but freedom for the thought that we hate.” United

States v. Schwimmer, 279 U.S. 644, 654–55 (1929) (Holmes, J. dissenting).

         In addition to the legal reasons why Plaintiffs’ case must be dismissed, there

are serious and significant prudential concerns, namely the existence of a political

question due to the judgment of the Senate Impeachment Court that acquitted the

President of incitement charges on the same facts addressed in this Amended

Complaint. The Court should also decline to get involved in line drawing over what

types of speech are acceptable in the political realm. Such questions are not

susceptible to judicially manageable standards and are necessarily reserved to the

political branches. Even if the speech in question was not cloaked with the highest

presumption of First Amendment protection, the legal doctrines of absolute

Presidential immunity, res judicata, and collateral estoppel preclude Plaintiffs’

claims.

   I.       The Constitution Forecloses All of Plaintiffs’ Claims Against President
            Trump.

   a.       Absolute immunity bars Plaintiffs’ claims against President Trump

         Presidents must be decisive. When making critically important decisions, often

of historic proportions, their discretion must not be influenced, or their actions

chilled, by a fear that their presidential actions will result in civil liability—ripening

either during or after their presidential term. Consequently, courts have long held

that absolute immunity covers Presidents, which is grounded in the principle of

separation of powers and entrenched in precedent dating back to common law

traditions. See Mitchell v. Forsyth, 472 U.S. 511, 521 (1985); Nixon v. Fitzgerald, 457
                                               9
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 20 of 57




U.S. 731, 744 (1982); 3 J. Story, Commentaries on the Constitution of the United

States § 1563, pp. 418-19 (1st ed. 1833) (reasoning that the President “must be

deemed, in civil cases at least, to possess an official inviolability.”).

       Precluding this type of civil litigation against the President is vital to ensuring

a functioning Executive Branch—the absence of immunity would incentivize lawsuits

that would make the President hesitant to exercise his discretion “even when the

public interest required bold and unhesitating action.” Nixon, 457 U.S. at 744–45.

See also Pierson v. Ray, 386 U.S. 547, 554 (1967) (explaining that immunity serves

the public interest in preserving the independence and decisiveness necessary of

government officials). Even when a plaintiff alleges that a President’s actions exceed

their legal authority, the privilege still prohibits litigation. Otherwise, the rule would

be swallowed whole by the exceptions; litigation would constantly test whether a

particular “action was unlawful[] or was taken for a forbidden purpose.” Nixon, 457

U.S. at 756.

       The dominant concern motivating the Court’s reasoning regarding immunity

is the possibility of “distortion of the Executive’s ‘decision[-]making process’ with

respect to official acts that would stem from ‘worry as to the possibility of damages.’”

Trump v. Vance, 140 S. Ct. 2412, 2426 (2020). For this reason, the defense of

immunity extends beyond traditional actions at common law to civil cases for

monetary damages. See Tenney v. Brandhove, 341 U.S. 367, 376 (1951) (holding that

despite not explicitly providing the defense of immunity, 42 U.S.C. § 1983 does not

abrogate the defense, which is “so well grounded in history and reason”).

                                                10
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 21 of 57




      Presidential immunity also extends to suits seeking declaratory and injunctive

relief. See Franklin v. Massachusetts, 505 U.S. 788, 827 (1992) (Scalia, J., concurring)

(explaining that the Court’s reasoning in Nixon “appl[ies] with equal, if not greater,

force to requests for declaratory or injunctive relief in official-capacity suits that

challenge the President’s performance of executive functions”). Claims attempting to

hold the President civilly liable for a speech, rally, or petitioning activity would

irreparably distort his decision-making process in a way that the Court recognizes is

unacceptable and unconstitutional.

      On the same day the Supreme Court decided that a President has absolute

immunity, the Court drew a distinction between the persons entitled to such absolute

immunity and those only entitled to a lesser form of immunity. See Harlow v.

Fitzgerald, 457 U.S. 800, 807 (1982). In Harlow, the Supreme Court distinguished

between ordinary Executive Branch officials who would be entitled to qualified

immunity from those who are entitled to the higher protection of absolute immunity.

Id. (“[O]ur cases make plain that qualified immunity represents the norm.”). As the

Supreme Court clearly explained, “government officials performing discretionary

functions generally are shielded from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which

a reasonable person would have known.” Id. at 817–18.

      The Court has also held that evidence of a defendant’s subjective intent is

irrelevant. See Crawford-El v. Britton, 523 U.S. 574, 588 (1998) (“[The] defense of

qualified immunity may not be rebutted by evidence that the defendant’s conduct was

                                              11
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 22 of 57




malicious   or   otherwise   improperly    motivated.”).   “[J]udgments    surrounding

discretionary action almost inevitably are influenced by the decisionmaker’s

experiences, values, and emotions,” and allowing subjective intent would result in no

clear standard for relevant evidence. Harlow, 457 U.S. at 816.

      Here, President Trump was engaged in discretionary action pursuant to his

constitutional duty to ensure that the laws were faithfully executed by petitioning

Congress not to certify the electors from States with ongoing election challenges. As

such, he is entitled to immunity because his speech did not violate any clearly

established legal duties. President Trump expressed concerns about the integrity of

the 2020 Presidential Election. These concerns about election integrity, grounded in

the swiftly changed state election procedures, often after voting in the election had

already begun, amid a worldwide pandemic, the likes of which had not been seen,

were within President Trump’s discretion.

      In sum, based on the logic of Harlow, the President is entitled to absolute

immunity. The Court has continuously reaffirmed the purpose of executive and

legislative immunities to allow officials to carry out their functions without fear of

civil retribution for legitimate acts. See Nixon, 457 U.S. at 749, Brandhove, 341 U.S.

at 376 (“Legislators are immune from deterrents to the uninhibited discharge of their

legislative duty, not for their private indulgence but for the public good.”); Imbler v.

Pachtman, 424 U.S. 409, 423 (1976) (holding that absolute immunity existed for a

federal prosecutor to prevent distraction from his public duties or improper

consideration in the exercise of his independent judgment).

                                              12
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 23 of 57




      To hold that the President is in some actions protected by absolute immunity

and in others protected by qualified immunity would unnecessarily burden the Office

of the President with different liabilities at different times. This would be

inconsistent with the rationale for extending the immunity in the first place.

      Further, such liability would be inapposite to the protection offered to

legislators for the exact same reasons. In Brandhove, the Court held that the

“privilege would be of little value if [a protected person] could be subjected to the cost

and inconvenience and distraction of a trial upon the conclusion of the pleader, or to

the hazard of a judgment against them based upon a jury’s speculation as to motives.”

Brandhove, 341 U.S. at 377. The Court determined that “Courts are not the place for

such controversies[,]” but rather “self-discipline and the voters must be the ultimate

reliance for discouraging or correcting such abuses.” Id. at 378.

      In Brandhove, the Court limited its rationale to the facts before it, which were

that the plaintiff alleged that a state legislator violated an individual’s constitutional

right by intimidating him into silence through an improper exercise of legislative

power, calling him to testify. Id. at 371. The Court ultimately ruled they could not

find the committee exceeded the bounds of the legislative power unless there is an

“usurpation” of the executive or judicial powers that is “obvious.” Id. at 378.

      In Imbler, the Court held that a prosecutor could not be held liable for those

against whom he brings charges but fails to convict. 424 U.S. 409, 423 (1976). The

Court went on to pronounce that the office of public prosecutor is such that it must

be administered with “courage and independence.” Id. If such litigation were allowed,

                                               13
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 24 of 57




“[t]he apprehension of such consequences would tend towards great uneasiness and

toward weakening the fearless and impartial policy which should characterize the

administration of this office.” Id. at 424. These principles are easily extended to the

present case.

         Here, President Trump is an elected official entitled to absolute immunity.

President Trump was engaged in the execution of his duties as President, which are

constitutionally committed to his sole discretion. In this case, those duties involved

using his bully pulpit to ensure the faithful execution of the laws of the United States

and lobbying for proper legislative action to the same ends. The Office of the

President, even more than the office of prosecutor, requires the ability to act boldly

and fearlessly to carry out the duties of the office as the person vested with the entire

authority of the Executive Branch.

         A holding that Plaintiffs can bring a suit of this subjective nature would

encourage political opponents to take their disputes out of the public square and halls

of Congress and into courtrooms to punish a President for his disfavored speech. The

President’s absolute immunity forecloses the jurisdiction of this Court to do so.

   b.       The political question doctrine bars Plaintiffs’ claims against President
            Trump.

         Similar to absolute immunity is the practical consideration expressed in the

political question doctrine. “The political question doctrine excludes from judicial

review those controversies which revolve around policy choices and value

determinations constitutionally committed for resolution to the halls of Congress or

the confines of the Executive Branch.” Japan Whaling Ass’n. v. Am. Cetacean Soc.,
                                              14
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 25 of 57




478 U.S. 221, 230 (1986). There are several instances when the doctrine makes a case

non-justiciable, including when there is a “textually demonstrable constitutional

commitment of the issue to a coordinate political department” and when it is

impossible to decide an issue without making “an initial policy determination of a

kind clearly for nonjudicial discretion” or “without expressing lack of the respect due

coordinate branches of government.” Bancoult v. McNamara, 445 F.3d 427, 432 (D.C.

Cir. 2006) (citing Baker v. Carr, 369 U.S. 186, 217 (1962)).

      Here, Plaintiffs seek declarations and damages against President Trump based

on actions taken while he was acting in his official capacity as President of the United

States. See Am. Compl. at ¶ 73. Adjudication of such a claim based upon the words

or actions of the President would improperly regulate the executive department.

Moreover, adjudication of Plaintiffs’ claims would require the Court to make a value

determination about what is or is not proper for the President to say during a political

speech when advocating for Congressional action. As previously discussed, such value

determinations about the content of speech are not appropriate for the judiciary. The

courts are not the branch constitutionally tasked with making “policy choices and

value determinations,” and they cannot serve to second-guess a president’s

judgments. Japan Whaling, 478 U.S. at 230.

      The impeachment managers chosen by the House of Representatives had a full

and fair opportunity to make their case at impeachment. They failed; President

Trump was acquitted by the United States Senate sitting as an Impeachment Court.

Its verdict was the final word on this matter. To hold otherwise would displace the

                                              15
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 26 of 57




Senate as the final arbiter on impeachment, showing a disrespect for a co-equal

branch. As such, this Court should decline to adjudicate Plaintiffs' claims.

   c.       Res judicata and collateral estoppel foreclose Plaintiffs’ claims

         Notwithstanding presidential immunity, Congress has the power of

impeachment if it believes a President has acted improperly. If that remedy fails—as

it did here—there is no avenue for reconsidering the question in the Courts. The

remedy of impeachment is exclusive. Even if it was not, however, questions resolved

by acquittal in an impeachment trial cannot be relitigated again in this Court because

of the doctrines of res judicata and collateral estoppel.

         Under the doctrine of res judicata, a subsequent lawsuit will “be barred if there

has been prior litigation (1) involving the same claims or cause of action, (2) between

the same parties or their privies, and (3) there has been a final, valid judgment on

the merits, (4) by a court of competent jurisdiction.” Smalls v. United States, 471 F.3d

186, 192 (D.C. Cir. 2006) (citing Blonder-Tongue Lab’ys, Inc. v. Univ. of Ill. Found.,

402 U.S. 313, 323–24 (1971)). Under D.C. law, which forms the basis for most of the

Plaintiffs’ claims, a court will consider “(1) whether the claim was adjudicated finally

in the first action; (2) whether the present claim is the same as the claim which was

raised or which might have been raised in the prior proceeding; and (3) whether the

party against whom the plea is asserted was a party or in privity with a party in the

prior case” to determine whether a claim is barred by res judicata. Herrion v.

Children’s Hosp. Nat’l Med. Ctr., 448 F. App’x 71, 72 (D.C. Cir. 2011) (quoting

Calomiris v. Calomiris, 3 A.3d 1186, 1190 (D.C. 2010)).

                                                16
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 27 of 57




      While these tests are formulated slightly differently, the core principles are the

same: res judicata bars claims if they arise from the same common nucleus of facts

when the prior case resulted in a final judgment on the merits, and the parties to the

former litigation are the same or are privies of those parties. “[T]he parties to a suit

and their privies are bound by a final judgment and may not relitigate any ground

for relief which they already have had an opportunity to litigate even if they chose

not to exploit that opportunity whether the initial judgment was erroneous or not.”

Lewis v. Drug Enf’t Admin., 777 F. Supp. 2d 151, 161 (D.D.C. 2011), aff’d, 2012 WL

1155698 (D.C. Cir. 2012). See also Allen v. McCurry, 449 U.S. 90, 94 (1980) (“Under

res judicata, a final judgment on the merits of an action precludes the parties or their

privies from relitigating issues that were or could have been raised in that action.”).

A plaintiff alleging no new facts but simply a new legal theory “is precisely what is

barred by res judicata.” McIntyre v. Fulwood, 892 F. Supp. 2d 209, 216 (D.D.C. 2012)

(quoting Apotex, Inc. v. FDA, 393 F.3d 210, 217–18 (D.C. Cir. 2004)).

      1.     All of Plaintiffs’ claims arise from the same common nucleus of facts.

      Plaintiffs’ claims arise out of the same operative facts as the claims addressed

in the Senate’s impeachment trial. That trial did not result in a conviction—despite

overwhelming political animus towards the President; the Senate acquitted the

President of the incitement to insurrection charge. The articles of impeachment

alleged that President Trump “willfully made statements that, in context,

encouraged—and foreseeably resulted in—lawless action at the Capitol[.]” 167 Cong.

Rec. H165 (daily ed. Jan. 13, 2021). These are the same charges that Plaintiffs bring

                                              17
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 28 of 57




now, alleging violations of laws that have substantially the same language. See Am.

Compl., ¶ 168 (alleging President Trump was involved in a conspiracy to create a riot

that would unlawfully injure members of Congress and Capitol Police Officers and

prevent them from discharging their duties); ¶ 177 (alleging President Trump failed

to prevent the riot because he had the power to do so by not speaking out about

election fraud and not pursuing lawsuits challenging election results); ¶ 196 (alleging

President Trump “incited or aided and abetted others to engage in a riot”).

      Res judicata applies not only to the actual claims brought, but also to any

claims that could have been brought stemming from the same facts. See Allen, 449

U.S. at 94. The Constitution tasks the House of Representatives with “the sole power

of impeachment.” U.S. Const. art. I, § 2, cl. 5. It had the opportunity to craft any

articles of impeachment and it chose to bring only one article for incitement to

insurrection, alleging that the President’s First Amendment protected speech on

January 6, 2021, rose to the level of the types of “high crimes and misdemeanors” that

warrant removal from office.

      The Senate has “the sole Power to try all Impeachments,” but what level of

proof is required to convict is determined by each individual Senator. U.S. Const. art.

I, § 3, cl. 6. Even under this lower standard of proof, and despite only needing a two-

thirds vote to convict—a potentially lower bar than the President faces in this case—

it failed to do so. The failure to bring additional claims does not permit parties or

their privies to bring later litigation stemming from the same events; otherwise, no

judgment would ever truly be final.

                                             18
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 29 of 57




      2.     Plaintiffs are in privity with Congress.

      The Capitol Police is an agency under the legislative branch whose interests

were adequately represented during the Senate’s impeachment trial, which was

predicated on the same nucleus of alleged facts that Plaintiffs bring here. A “privy”

is one “so identified in interest with a party to former litigation that he represents

precisely the same legal right in respect to the subject matter involved.” Jefferson

Sch. of Soc. Sci. v. Subversive Activities Control Bd., 331 F.2d 76, 83 (D.C. Cir. 1963).

“The government, its officers, and its agencies are regarded as being in privity for

claim-preclusive purposes.” McIntyre, 892 F. Supp. 2d at 215 (quoting Wilson v.

Fullwood, 772 F. Supp. 2d 246, 263 (D.D.C. 2011)); see also Sunshine Anthracite Coal

Co. v. Adkins, 310 U.S. 381, 402–03 (1940) (“There is privity between officers of the

same government so that a judgment in a suit between a party and a representative

of the United States is res judicata in relitigation of the same issue between that

party and another officer of the government.”).

      In essence, the House of Representatives’ impeachment managers, serving in

roles similar to prosecutors or plaintiffs, represented the interests of all the parties

involved in the events that supported the article of impeachment brought against the

President. Plaintiffs’ claims are predicated on injuries they sustained from the

actions of individuals at the Capitol, which the House blamed on President Trump.

The Senate, tasked with hearing the evidence and passing a final judgment on the

matter, did not find that President Trump’s First Amendment protected speech rose

to the level of incitement. The Senate, sitting as an Impeachment Court under oath

                                              19
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 30 of 57




to the Constitution, issued a final judgment acquitting the President of the incitement

to insurrection charge, thus precluding any parties or their privies who could have

brought claims from relitigating the matter. Indeed, Plaintiffs could not have charged

the President in a civil lawsuit for the claims they now attempt to bring because of

absolute presidential immunity from claims for damages resulting from official acts.

See Vance, 140 S. Ct. at 2426.

      The House was the only party that could bring the claim, and the Senate was

the only court that could hear the claims. As such, the House was the relevant party

bringing the suit, and it adequately represented the interests of the Capitol Police, a

legislative agency tasked with protecting Congress so that its members may carry out

their legislative duties. This relationship makes the Capitol Police privies of the

House and bars their attempts to bring these particular claims against the President.

      3.     The Senate’s Impeachment trial is a final judgment on the merits issued
             by a court of competent jurisdiction.

      Res judicata requires that a court of competent jurisdiction issue a final

judgment on the merits for that decision to preclude future lawsuits stemming from

the same facts. The Constitution, in Article I, § 3, cl. 6, specifically designates the

Senate to sit as an Impeachment Court, which means that it qualifies as a court of

competent jurisdiction, tasked with examining the articles presented by the House in

the manner of a judge. See Nixon v. United States, 506 U.S. 224, 229–30 (1993)

(analyzing the definition of “try” as used in the Constitution to reach the conclusion

that the Framers did not intend to impose additional limitations on impeachment

trial procedure beyond requiring that “Members must be under oath, a two-thirds
                                             20
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 31 of 57




vote is required to convict, and the Chief Justice presides when the President is

tried”).

       Once the Senate has decided a case as an Impeachment Court, it is necessary

to treat that decision with finality. See Kevin Foley, Availability of Tolling in A

Presidential Prosecution, 168 U. PA. L. REV. 1789, 1799–800 (2020) (describing how

the impeachment process is better suited for prosecuting the President for numerous

factors, among which is the finality of the lack of an appeal) (citing A Sitting

President’s Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222,

258-60 (2000)); Nixon, 506 U.S. at 236 (discussing the necessity of the finality of the

Senate’s judgment after an impeachment because “opening the door of judicial review

to the procedures used by the Senate in trying impeachments would ‘expose the

political life of the country to months, or perhaps years, of chaos.’”) (citing Nixon v.

United States, 938 F.2d 239, 246 (1991)).

       This is especially true because the Senate is the sole court that can pass

judgment on impeachment. See U.S. Const. art. I, § 2, cl. 6. “The commonsense

meaning of the word ‘sole’ is that the Senate alone shall have authority to determine

whether an individual should be acquitted or convicted.” Nixon, 506 U.S. at 230–31.

If the courts were permitted to review the processes and decisions of the Senate, this

would compromise the Senate’s ability to “‘function[] . . . independently and without

assistance or interference.’” Id. (citing Webster’s Third New International Dictionary

2168 (1971)). The one exception to the finality of judgment of the Senate respects an

individual impeached and convicted. “[T]he Framers recognized that most likely

                                              21
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 32 of 57




there would be two sets of proceedings for individuals who commit impeachable

offenses—the impeachment trial and a separate criminal trial.” Nixon, 506 U.S. at

234. “[T]he Constitution explicitly provides for two separate proceedings.” Id. (citing

U.S. Const. art. I, § 3, cl. 7). The Court explained that the separation of the two

forums was a deliberate move by the Framers to “avoid raising the specter of bias and

to ensure independent judgments.” Nixon, 506 U.S. at 234 (citing The Federalist No.

65, p. 442 (J. Cooke ed. 1961)).

       In this case, however, the Senate acquitted President Trump. That acquittal

by the Senate is a final judgment on the merits and precludes this Court from

exercising jurisdiction.

       4.     The Plain Meaning of the Impeachment Judgment Clause shows that
              only an individual convicted is subject to follow-on litigation, and only
              for criminal offenses.

       The Impeachment Judgment Clause, U.S. Const. art. I, § 3, cl. 7, states that

judgment “shall not extend further than to removal from Office, and disqualification

to hold and enjoy any Office of honor, Trust or Profit under the United States: but the

Party convicted shall nevertheless be liable and subject to Indictment, Trial,

Judgment and Punishment, according to Law.” Two aspects of this clause stand out.

       First, the only provision for follow-on liability is for a party convicted. The

Framers could have written the party “tried” or the party “impeached,” but the

ultimate wording was limited to the party convicted. This alone should make clear

that an individual impeached but not convicted shall not be subject to follow-on

litigation.

                                             22
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 33 of 57




      Second, the clustering of post-conviction liability for “Indictment, Trial,

Judgment and Punishment, according to Law” leads with “Indictment,” which implies

that an individual convicted is only potentially liable for follow on criminal charges

brought by the government rather than a civil suit on the same issues. The Framers

were familiar with the concept of res judicata and collateral estoppel. See Crist v.

Bretz, 437 U.S. 28, 40–41 (1978) (describing that “the constitutional guarantee

against double jeopardy was restricted to cases in which there had been a complete

trial—culminating in acquittal or conviction . . . . This was consonant with the

prevailing English practice regarding pleas in bar”).

      Recognition of the need to prevent repetitive suits is definitively expressed in

the Constitution, which prohibits anyone from being “subject for the same offense to

be twice put in jeopardy of life or limb.” U.S. Const. amend. V. The Constitution then

explicitly carves out an exception for this commonly understood prohibition against

being subject to judgment more than once for the same claim only in cases where an

individual is impeached and convicted. But an individual will not be subject to

judgment in all cases—the Constitution again limits the liability to indictment, trial,

judgment, and punishment.

      Indictments are only issued for criminal offenses, not for civil lawsuits. The

process of the impeachment trial is deemed a final judgment on the merits, but it will

not prevent the individual convicted of a high crime or misdemeanor from facing

judgment in a court of law for the crime in question. This makes sense because the

Senate cannot bring a criminal charge against an individual impeached—only the

                                             23
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 34 of 57




executive branch can bring litigation to enforce the laws of the United States.

Through being granted the power of impeachment, Congress was given an important

check on the Executive and Judicial Branches, who could not have been trusted to

prosecute and try themselves. Once removed from office, those individuals could then

be properly tried in the courts of law. President Trump was not convicted on the

impeachment charge brought against him. Because he is not a party convicted, he is

not liable to be subject to further litigation on a matter already decided.

   d.       Well-established First Amendment jurisprudence bars Plaintiffs’ claims
            based on President Trump’s protected political speech.

         An individual’s rights to speak, assemble, and petition the government for

redress of grievances are afforded the strongest presumption against infringement.

See Members of City Council of City of Los Angeles v. Taxpayers for Vincent, 466 U.S.

789, 816 (1984) (“[P]olitical speech is entitled to the fullest possible measure of

constitutional protection.”). “[S]peech on ‘matters of public concern’ . . . is ‘at the heart

of the First Amendment’s protection.’” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011)

(quoting Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758–59

(1985)).

         The First Amendment reflects “a profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open.”

Snyder, 562 U.S. at 452. That is because “speech concerning public affairs is more

than self-expression; it is the essence of self-government.” Id. Accordingly, “speech on

public issues occupies the highest rung of the hierarchy of First Amendment values

and is entitled to special protection.” Id. “The primary question is whether the
                                                24
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 35 of 57




message conveyed . . . was of such a nature as to come within the ambit of the First

Amendment Protection, or whether it must be placed in the categories of speech

which the Supreme Court has held are not protected.” Allen v. District of Columbia,

187 A.2d 888, 889 (D.C. 1963) (citing Chaplinsky v. New Hampshire, 315 U.S. 568

(1942)). For Plaintiffs’ claims alleging conspiracy and aiding and abetting incitement

to riot, the “[defendant’s] conduct, and not the crowd’s reaction to it, must be the

starting point, for ‘the measure of the speaker is not the conduct of his audience.’”

Allen, 187 A.2d at 889 (quoting Rockwell v. Morris, 12 A.D.2d 272, 279 (N.Y. Sup. Ct.

1961)).

      Therefore, the “[a]udience reaction, and the immediacy of the disorder, become

significant elements of proof only after the speaker passes the bounds of argument or

persuasion and undertakes incitement to riot.” Allen, 187 A.2d at 889 (citing Feiner

v. New York, 340 U.S. 315, 321 (1951)). Here, President Trump’s speech did not

surpass any reasonable standard for the bounds of argument and persuasion

commonly used by public officials and candidates for public office.

      1. President Trump’s speech constitutes petitioning activity undertaken in his
         official capacity.

      President Trump's speech on January 6, 2021, regarding the 2020 Presidential

Election, is certainly on matters of public concern. As President, it is his duty to

ensure that the laws are faithfully executed, and he had plausible concerns about the

integrity of the November election results. Allegations of election interference were

more than welcome by politicians and the media in 2000, 2004, and 2016 when they



                                             25
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 36 of 57




were being voiced by Maxine Waters, Jerrold Nadler, Barbara Lee, Stacy Abrams,

and Hillary Clinton.

      In 2020, President Trump was decried for voicing concerns with the massive

changes to state election procedures that brought uncertainty about their security.

State legislatures are charged with setting the election process in every state, but the

President has every right to question whether procedures were properly enacted,

being followed, and secure. Indeed, dialogue between the political branches of

government and the several states on such issues is at the core of federalism and the

checks and balances that are the heart and soul of our Constitution's framework for

more than two centuries. Questioning the propriety of the election was part of the

President’s duty to uphold and defend the Constitution. At the very least, his

discussion of the matter while attempting to petition Congress to redress his

grievance was a matter of public concern cloaked with the highest presumption of

protection. It simply does not meet the standards described by the Supreme Court for

when speech may be restricted or punished without violating the First Amendment.

      2.     President Trump’s speech fails to meet the standard for incitement
             under Brandenburg v. Ohio.

      At numerous points throughout the Amended Complaint, Plaintiffs allege

President Trump incited and provoked individuals to riot at the Capitol through

weeks of voicing his concerns over the legitimacy of the elections (Am. Compl., ¶¶ 2,

5, 55), filing lawsuits challenging those election results (Am. Compl., ¶¶ 64, 67), and

planning a rally to petition Congress to delay certifying the election (Am. Compl.,

¶¶ 87–89). From these allegations, they ascribe liability for the subsequent actions of
                                              26
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 37 of 57




individuals at the Capitol. President Trump’s speech clearly expressed his desire for

those who believed as he did to “peacefully and patriotically make [their voices]

heard” at the Capitol, where the election certification was going to take place.6 At no

point during the speech was there any advocacy for violence or unlawful activity.

      Retrospectively assuming a speaker’s intent based upon the actions of others

is not a constitutionally acceptable method of pleading an unlawful incitement. See

Brandenburg, 395 U.S. at 449 (1969). But that is exactly the method Plaintiffs would

have this Court endorse. In their Amended Complaint, Plaintiffs claim unnamed

internet users interpret President Trump’s language as a call to action. Compl., ¶¶

91, 142, 143. Based upon this stretched interpretation, third parties acted. This

theory has been recently rejected by the Department of Justice, which referred to any

theory that President Trump could authorize citizens to interfere with therelevant

proceedings as “objectively unreasonable.” United States v. Gieswein, Criminal No.

21-024, Doc. 63 at 2 (D.D.C.). Moreover, Plaintiffs never allege that President Trump

gave directions; only that third parties misunderstood innocuous, political statements

to mean something not said, nor implied, nor intended. That is not a proper test for

any sort of liability, let alone liability based on incitement, as Plaintiffs suggest.

      Further, one cannot have negligent liability for incitement—intent on the part

of the speaker is a required element of a plaintiff’s claim. A holding that an individual

can be liable for incitement based on how others interpreted his speech would blur


      6 Brian Naylor,   Read Trump’s Jan. 6 Speech, A Key Part of Impeachment Trial,
CNN (February 10, 2021), https://www.npr.org/2021/02/10/966396848/read-trumps-
jan-6-speech-a-key-part-of-impeachment-trial.
                                          27
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 38 of 57




“the distinction between advocacy and incitement.” Morse, 551 U.S. at 442 (Stevens,

J., dissenting). The Supreme Court rejected such an interpretation because this

“would ‘pu[t] the speaker in these circumstances wholly at the mercy of the varied

understanding of his hearers and consequently of whatever inference may be drawn

as to his intent and meaning.’” Id. at 442–43 (quoting Thomas, 323 U.S. at 535).

      The right to protest was continually referred to in the media this past year as

a central part of our functioning Republic—even when the protests that were

encouraged in cities throughout the country were turning violent and putting

American lives, property, and law enforcement officers in jeopardy. A finding that

President Trump’s speech is not protected by the First Amendment would open the

floodgates to liability for any individual if another person committed unlawful

conduct and claimed to be under the influence of that individual’s political speech,

cluttering the dockets of federal courts and incentivizing using courts as a weapon

against political opponents.

      3.     Incitement is limited to true threats and a holding to the contrary would
             subject anti-riot laws to facial challenges.

      As the Supreme Court has recognized, the “mere tendency of speech to

encourage unlawful acts is not a sufficient reason for banning it.” Ashcroft, 535 U.S.

at 253. After all, “mere encouragement is quintessential protected advocacy” under

the First Amendment. United States v. Miselis, 972 F.3d 518, 536 (4th Cir. 2020).

Indeed, the Fourth Circuit has held that an Anti-Riot Act that “proscribes speech

tending to ‘encourage’ or ‘promote’ a riot, as well as speech ‘urging’ others to riot or



                                              28
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 39 of 57




‘involving’ mere advocacy of violence” was overbroad under Brandenburg and swept

up too much protected speech to be constitutional. Miselis, 972 F.3d at 540.

      If the courts can conclude that urging others to riot or directly advocating for

violence cannot incur liability under the First Amendment, the allegations that

Plaintiffs have made here are surely insufficient. Otherwise, D.C.’s Anti-Riot statute

would be subject to a facial challenge as sweeping in too much protected speech under

the Supreme Court’s analysis in Brandenburg, 395 U.S. at 447, which permits

advocacy of the use of force except in limited circumstances where the speech both is

intended to incite imminent lawless action and has a high likelihood of inciting

imminent lawless action. Plaintiffs’ reading of § 1985 and argument for liability

would result in such expansive liability to subject the statute to a facial challenge.

      4.     Plaintiffs’ reading of § 1985 and arguing for liability would render the
             statute unconstitutionally overbroad and vague

      If Plaintiffs are allowed to bring this claim under § 1985, an unlawful

conspiracy could be construed any time there is a standoff between the political

branches that involves emotionally charged speech. This would make the statute

subject to a facial challenge for being overbroad or void for vagueness. The

overbreadth doctrine allows facial challenges to unbounded statutes to prevent the

chilling of First Amendment speech. See Sec. of State of Md. v. Joseph H. Munson

Co., Inc., 467 U.S. 947, 958 (1984). The void for vagueness doctrine ensures citizens

are on notice of what a statute proscribes and guards against arbitrary or

discriminatory enforcement. See Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018).



                                              29
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 40 of 57




      Should Plaintiffs’ construction of § 1985 be adopted, it would lead to a

boundless statute that would essentially hold politicians vicariously liable for the

actions of their supporters, substantially chilling constitutionally protected political

speech. Moreover, the broad and vague prescriptions of the statute would encourage

selective enforcement, inevitably based upon the political affiliations of the enforcer.

Simply put, Plaintiffs’ proposed interpretation of the statute provides no way to draw

clear lines, requiring that they be struck down as facially invalid. But this historic

statute need not be endangered.

      A conspiracy under § 1985(1) should not be read so broad as to apply to all

tortious interferences with the rights of others. See Griffin v. Breckenridge, 403 U.S.

88, 101 (1971) (discussing the legislative history of the statute, specifically as it

applied to § 1985(3)). Indeed, a plain reading of the word “conspiracy” in the statute

requires that the Court limit its application to specific agreements to interfere with

the acceptance or performance of an officers’ duties through an unlawful act. See

McFadden v. U.S., 576 U.S. 186, 197 (2015) (requiring that avoidance be used when

courts must choose between competing plausible interpretations where one would

lead to an unconstitutional result). Ergo, an agreement to engage in lawful political

speech and assembly with others is no conspiracy at all; there must be an actual

agreement to perform an overt act that extends beyond protected political speech.

And as with any conspiracy allegation, proof of the actual agreement is key to

surviving a motion to dismiss.




                                              30
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 41 of 57




         Plaintiffs here do not meet that required pleading standard. As the First

Amendment protects President Trump’s speech, and all of the claims against him

stem directly and solely from his political speech, this Court must dismiss the

Plaintiffs’ Amended Complaint in its entirety.

   II.      This Court Lacks Personal Jurisdiction Over the Trump Campaign and
            Make America Great Again, PAC.

         To establish general personal jurisdiction over a corporation, the corporation

must either be incorporated in that state or maintain its principal place of business

(e.g., be “essentially at home”) in that state. Daimler AG v. Bauman, 571 U.S. 117,

127 (2014). Other plaintiffs have brought Donald J. Trump for President Inc. (“the

Campaign”) into their lawsuits against President Trump in this Court before. This

Court conclusively held that it lacked jurisdiction over the Campaign in a lawsuit

based on election-related activities that incidentally required the corporation’s

presence in the District.

         “A corporation with a state of incorporation and principal place of business

outside of the District cannot be regarded as ‘at home’ in the District simply because

its headquarters are nearby in Virginia and it conducts business activity in the

District.” Cockrum v. Donald J. Trump for President, Inc., 319 F. Supp. 3d 158, 174

(D.D.C. 2018) (citing Duarte v. Nolan, 190 F. Supp. 3d 8, 15 (D.D.C. 2016)). “Plaintiffs

seek to establish jurisdiction by citing events that happened outside the District,

events that happened well before defendants allegedly joined the conspiracies, and

events after the conspiracies achieved their objective . . . [none of which] focus on



                                              31
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 42 of 57




defendants’ contacts with the forum related to the specific claims raised in plaintiffs’

complaint.” Cockrum, 319 F. Supp. 3d at 175.

      “For this Court to exercise specific personal jurisdiction over defendants their

‘suit-related   conduct    must    create    a    substantial   connection    with’   the

District. . . . Therefore, for purposes of asserting jurisdiction over [the Campaign], the

Court must determine from the allegations in the complaint what suit-related

conduct by defendants, in furtherance of the conspiracies, took place in D.C.”

Cockrum, 319 F. Supp. 3d at 175 (quoting Walden v. Fiore, 571 U.S. 277 (2014)).

      Here, initially any claim of conspiracy is specious. The Plaintiffs have not—

and cannot—claim that the campaign or its successor had any involvement in the

January 6 rally. Plaintiffs fail to allege that any of the Campaign’s speech or conduct

in furtherance of any conspiracy took place in D.C.. Plaintiffs’ only allegations about

the Campaign that could create a point of contact with D.C. are that it “filed and

caused to be filed scores of baseless lawsuits in various state and federal courts,” and

“planned and organized the January 6 rally.” Am. Compl. ¶¶ 63, 84. Neither of these

allegations, however, are alleged to be related to the ill-defined conspiracy to either

take back the country or “halt[] the count of the electoral votes.” Id. at. ¶ 122, 140(i).

Nor are either of these claims supported by any factual basis. Filing a lawsuit cannot

credibly be alleged to be an action in furtherance of a conspiracy, as even a baseless

lawsuit such as Plaintiffs’ has the right to be filed.

      Plaintiffs also cannot establish specific jurisdiction over the Campaign.

Plaintiffs have failed to allege any specific actions taken place by the Campaign or its

                                                 32
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 43 of 57




agents within the District of Columbia that would subject the Campaign to the

specific jurisdiction of this Court. Plaintiffs make conclusory allegations that the

Campaign: (1) spread messages publicly, (2) filed lawsuits regarding the election, (3)

and helped organize and fund the January 6 speech at the Ellipse. Am. Compl., ¶¶

54, 64, 68, 84, 115. Therefore, only the allegation about organizing and funding the

speech potentially remains; however, Plaintiffs have failed to allege that any action

involved in this alleged fundraising and planning took place from within the District.

Further, alleging that the Campaign organized a rally does not allege that there was

an agreement between the Campaign and other defendants for what conduct would

happen at and especially after that rally. Given this lack of allegation that the

Campaign has a substantial connection with D.C. related to the falsely alleged

conspiracy, the Court does not have jurisdiction over it; the claims against it must be

dismissed.

      The First Amendment rights to the freedom of speech and the freedom to

petition for redress of grievances would preclude this claim even if it were true (it is

not). Moreover, Plaintiffs provide no factual basis for their assertion that the

Campaign helped organize or fund the speech at the Ellipse. None of these allegations

are remotely actionable, wrongful, or illegal as it is removed in time and place from

the conduct at the Capitol by a span of hours.

      Further, any general allegations that the other or third parties were agents of

the Campaign are insufficient and conclusory with no factual support to survive a




                                              33
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 44 of 57




motion to dismiss. The Campaign’s staff is a matter of public record. The Campaign

was not involved in the January 6, 2021, speech at the Ellipse or the events afterward.

          In addition, Make America Great Again PAC is, as noted by Plaintiffs, an

entity that was formed from the Campaign. Am. Compl., ¶ 21. They are, in essence,

the same legal entity filed under the same FEC number. Id. Yet, Plaintiffs are

incorrect that Make America Great Again, PAC as a standalone entity could have any

liability in this case as the transition from the Campaign to the Make America Great

Again PAC took place after all of the alleged actions in this case. Accordingly, this

Court should dismiss Plaintiffs’ Amended Complaint against both the Campaign and

the Make America Great Again PAC for lack of personal jurisdiction.

   III.      Plaintiffs Have Failed to State a Claim.

          To state a claim upon which relief may be granted, Plaintiffs are charged with

pleading their Amended Complaint so that it plausibly lays out a legally recognized

case against Defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 549 (2007). While

they need not include “detailed factual allegations,” they must do more than state an

unadorned “the-defendant-unlawfully-harmed-me” accusation. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

          A pleading that offers “labels and conclusions” or “a formulaic recitation of the

elements of a cause of action will not do.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S.

at 555. Nor does a complaint suffice if it tenders “naked assertion[s]” devoid of

“further factual enhancement.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 557.

Moreover, Plaintiffs’ conspiracy allegations must be pled with particularity. See

                                                 34
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 45 of 57




McCord v. Bailey, 636 F.2d 606 (D.C. Cir. 1980). Gometz v. Culwell, 850 F.2d 461,

464 (7th Cir. 1988).

   a. Plaintiffs do not allege a violation of 42 U.S.C. § 1985(1).

       Plaintiffs’ claims against President Trump and the Campaign under § 1985 are

contingent upon a finding that they conspired to interfere with the duties of a federal

officer as described in § 1985(1). None of the individuals Plaintiffs allege in ¶ 153

(Members of Congress, Congressional staff, Capitol Police Officers, President Biden,

and Vice President Harris) were prevented by force, intimidation, or threats from

discharging their duties or accepting or holding an office nor are they federal officers

for purposes of § 1985(1).

       An officer of the United States is one who “holds his place by virtue of an

appointment by the president, or of one of the courts of justice or heads of

departments authorized by law to make such an appointment.” United States v.

Mouat, 124 U.S. 303, 307 (1888). Additionally, as the Supreme Court explained in

2010, “[t]he people do not vote for the ‘Officers of the United States.’ U.S. Const.

art. II, § 2, cl. 2. They instead look to the President to guide the ‘assistants or

deputies . . . subject to his superintendence.’” Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 498 (2010) (quoting, The Federalist No. 72,

p. 487 (J. Cooke ed. 1961) (A. Hamilton)). Furthermore, the Appointments Clause

makes it clear that the President appoints the Officers of the United States. See U.S.

Const. art. II, § 2, cl. 2.




                                              35
      Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 46 of 57




        The Constitution makes clear that members of Congress are not office holders

“under . . . the United States.” 42 U.S.C. § 1985(1). The Ineligibility Clause

specifically states that “no person holding any Office under the United States, shall

be a member of either House during his Continuance in Office.” U.S. Const. art. I, § 6,

cl. 2. Ergo, a member of Congress is not in an office under the United States;

otherwise, the Constitution would state that they could not hold more than one such

office. In defining an office of the United States, the United States Court of Claims

defined it as a “public station or employment established or authorized by Congress

and conferred by appointment of the Government.” Dalton v. U.S., 71 Ct. Cl. 421, 425

(1931). Neither do members of Congress hold a position of trust or a place of

confidence under the United States. The Constitution specifically delineates between

senators and representatives and those holding an office of trust or profit under the

United States when it prohibits any of the above from serving as electors. U.S. Const.

art. II, § 1, cl. 2.

        In common law, an office of trust or profit referred exclusively to those in the

employ in the executive, judiciary, or the church. See Benjamin Cassady, “You’ve Got

Your Crook, I’ve Got Mine”: Why the Disqualification Clause Doesn’t (Always)

Disqualify, 32 QUINNIPIAC L. REV. 209, 279 (2014). English statutes applied the term

to offices conferred by the Crown, not by Parliament. Id. (citing Test Act of 1673, 25

Car. II, c. 2 (U.K.)). There are few examples of those who hold a place of confidence

under the United States. A district court has applied that term to state court judges

since they decide federal constitutional issues and federal law binds them. See Lewis

                                              36
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 47 of 57




v. News-Press & Gazette, 782 F. Supp. 1338, 1342 (W.D. Mo. 1992). Other authority

suggests the categories in Section 1 are limited to those who carry out and apply the

law. See Stern v. U.S. Gypsum, Inc., 547 F.2d 1329, 1337 (7th Cir. 1977) (explaining

the statutory history of § 1985(1) and concluding that the purpose of the legislation

was to protect the “federal interest in the carrying out of federal functions”).

         Given the previously discussed limitation that officers of the United States are

those who are appointed by the President, the fact that the Vice President is elected

with the President prevents a finding that either the President or Vice President are

officers. One thing is clear: the Congress that adopted the statute could have clearly

made it applicable to the legislative branch and to the President and Vice President.

But it did not. Indeed, if the statute did apply as broadly as the Plaintiffs allege, any

time Congress and the President disagreed politically, it could incur liability on either

party in the courts of law if their bombastic rhetoric or conduct could be perceived as

a threat to the other. Thus, Plaintiffs do not have a cause of action under § 1985(3).

As such, count one (and, therefore, count two) must be dismissed.

   b.       Plaintiffs’ claim under 42 U.S.C. § 1986 fails as it is contingent upon stating
            a valid claim under § 1985.

         Because Plaintiffs have failed to state a valid claim under § 1985, their § 1986

claim necessarily fails as well. Even if Plaintiffs had stated a claim under § 1985,

their § 1986 claim still fails. § 1986 requires that an individual with power to prevent

or aid the alleged wrongdoings neglect or refuse to do so to incur liability. Here,

President Trump took efforts to ensure that the Capitol was protected against attack,

as evidenced by the HSGA report discussed above investigating the security failures
                                                37
        Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 48 of 57




on January 6. President Trump also took action to request that the actors at the

Capitol cease their actions, yet they did not heed these requests.7

   c.       Plaintiffs’ State law claims fail because their lawsuit is based on federal
            question jurisdiction, and their federal claims are insufficient.

         Plaintiffs have brought three claims against President Trump based on alleged

District of Columbia law violations in addition to claims of negligence. Each of these

claims fails because Plaintiffs’ arguments are precluded by President Trump’s

absolute presidential immunity, the principles of res judicata, and President Trump’s

First Amendment rights to freedom of speech, petition for redress of grievances, and

freedom of association. Even if the claims for assault, battery, negligence, and bias-

related crimes were not precluded, Plaintiffs have failed to plead their prima facie

case as required. Therefore, Plaintiffs’ state law claims should be dismissed as they

lack proper supplemental jurisdiction. Even if Plaintiffs claims did survive (which

they do not), they are insufficiently plead.

         1. Bias-Related Crimes Act

         Plaintiffs allege President Trump is liable under the D.C. Bias-Related Crimes

Act because the riots at the Capitol were politically motivated. See Am. Compl.

¶¶ 183–87. Plaintiffs claim the Defendants’ intended victims were those perceived to

be, or supporting, Democrats. Id. at ¶ 189. The Amended Complaint, however, shows

there was no intent to harm Democrats—President Trump’s speech encouraged the




         7 Brain Trusdell,   Trump Urges Peace, Protesters to 'Go Home', Newsmax (Jan.
6,             2021),              https://www.newsmax.com/politics/trump-twitter-
protesters/2021/01/06/id/1004533/.
                                            38
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 49 of 57




individuals at the rally to make their voices heard to Congress to express that they

did not want the 2020 election certified because the voting procedures and counts

were questionable. Id. at ¶ 118. Whether Plaintiffs disagree with such petitioning

activity or not, individuals have a right to express those views. For them to attempt

to assign liability for the violent actions of a small minority of the individuals who

heard this political speech misinterprets decades of First Amendment doctrine that

does not allow liability for how others interpret your speech.

      The Supreme Court conclusively rejected such a theory of liability because it

“would ‘pu[t] the speaker in these circumstances wholly at the mercy of the varied

understanding of his hearers and consequently of whatever inference may be drawn

as to his intent and meaning.’” Morse, 551 U.S. at 442–43 (Stephens, J., dissenting)

(quoting Thomas, 323 U.S. at 535).

      Plaintiffs claim President Trump and the Campaign are vicariously liable

under this D.C. statute because of the actions of the persons who actually entered

and damaged the United States Capitol on January 6. They argue President Trump

and the Campaign are liable for three different violations, each of which fails for the

reasons stated throughout this brief, as well as because Plaintiffs have failed to prove

their theory either for aiding and abetting or existence of an agency relationship.

          A.    Plaintiffs fail to plead that President Trump was generally aware of
                his role in an illegal activity or that he provided the “substantial
                assistance” necessary for aiding and abetting liability.

      Under D.C. law, aiding and abetting has a similar standard to that of

conspiracy, but even though courts and litigants commonly blur the lines, each has a

                                              39
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 50 of 57




unique standard. The D.C. Circuit has previously held that the “prime distinction”

between the standards is that a conspiracy is about an “agreement to participate in

a wrongful activity” while aiding and abetting is about “substantial assistance.”

Halberstam v. Welch, 705 F.2d 472, 478 (D.C. Cir. 1983). This distinction and others

are critical in determining liability when a specific charge is brought. “For

example . . . liability may be based on a more attenuated relation with the principal

violation in a conspiracy than in aiding and abetting.” Id. at 485.

      To state a claim for aiding and abetting, a plaintiff must show: “(1) the party

whom the defendant aids must perform a wrongful act that causes an injury; (2) the

defendant must be generally aware of his role as party of an overall illegal or tortious

activity at the time that he provides the assistance; (3) the defendant must knowingly

and substantially assist the principal violation.” Halberstam, 705 F.2d at 477 (citing

Investors Research Corp. v. SEC, 628 F.2d 168, 178 (D.C. Cir. 1980)).

      Plaintiffs allege President Trump aided and abetted the violent actors at the

Capitol through his protected First Amendment speech as well as through “providing

or soliciting funds, lodging, transportation, organization, equipment, or other goods

or services to help the rioters travel” to the rally at the Ellipse. Am. Compl., ¶ 197.

Plaintiffs do allege that the violent rioters performed a wrongful act that caused

Plaintiffs’ injuries. Id. at ¶ 172. They do not, and cannot, however, plausibly allege

that President Trump was aware of his role in an illegal conspiracy at the time he

spoke using his public platform and organized the Ellipse rally, nor that he provided

substantial assistance. These accusations are factually inaccurate, President Trump

                                              40
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 51 of 57




did none of these things. But even assuming them to be true, pursuant to the

applicable standard of review, the false allegations are still insufficient.

          B.     Plaintiffs fail to plead that other Defendants had an agency
                 relationship with President Trump.

      “An agency relationship requires the existence of three elements: (1) the

principal must manifest a desire for the agent to act on the principal’s behalf; (2) the

agent must consent to act on the principal’s behalf; and (3) the principal must have

the right to exercise control over the agent with respect to matters entrusted to the

agent.” Kaiser Grp. Int’l, Inc. v. World Bank, 420 F. App’x 2, 5 (D.C. Cir. 2011) (citing

Transamerica Leasing, Inc. v. La Republica de Venezuela, 200 F.3d 843, 849 (D.C.

Cir. 2000)). “An essential element of agency is the principal’s right to control the

agent’s actions.” Hollingsworth v. Perry, 570 U.S. 693, 713 (2013) (citing 1

Restatement (Third) of Agency § 1.01, cmt. f (Am. L. Inst. 2005)).

      The Restatement factors for agency liability do not apply to President Trump

or the Campaign under these charges. Neither President Trump nor representatives

of the Campaign were present during the alleged assaults and batteries, nor did they

condone or ratify the conduct. In fact, President Trump asked, multiple times, for

peace and calm (including after the riot, which Plaintiffs acknowledge in Am. Compl.

¶ 150). Nor were President Trump or the Campaign temporally linked to the assaults.

President Trump specifically spoke to the individuals at the Ellipse, who did not

arrive at the Capitol for hours after the speech, after President Trump had

admonished them to be peaceful. This left plenty of time for the individuals to whom



                                              41
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 52 of 57




President Trump’s speech was directed to cool off and consider their actions, even if

his words had not explicitly admonished them to be peaceful.

      Further, vicarious liability for assault or battery is usually claimed against

employers whose employees committed the assault or battery while acting within the

scope of their employment. See, e.g., Maniaci v. Georgetown Univ., 510 F. Supp. 2d

50, 64 (D.D.C. 2007) (finding the plaintiffs adequately plead a theory of direct liability

against employer University because University officials ratified employees’ conduct

by directing and controlling their actions and then doing nothing to stop the tortious

conduct). The individuals who attended the rally did not establish an agency

relationship with President Trump or with the Campaign and were therefore not

acting within the scope of an agency relationship.

          C.     Plaintiffs Fail to Plead Acts of Terrorism and Malicious Burning,
                 Destruction, or Injury of Another’s Property.

      In addition to being unable to prove aiding and abetting or an agency

relationship, Plaintiffs also completely fail to allege facts to support their allegation

for the existence of a conspiracy “to commit malicious destruction of property.” Am.

Compl., ¶ 191. Indeed, there is no theory under which the Plaintiffs can impute

liability to President Trump or the Campaign for the acts of others subject to this

provision, as the only connection they allege is that President Trump’s protected

speech “sought to intimidate or coerce” Congress and the voting public with no

support for where destruction of property was ever considered. Id. at 192. It seems

Plaintiffs are arguing that because property damage occurred, it must have been

planned. Even if Plaintiffs had not so drastically failed to plead this allegation, the
                                               42
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 53 of 57




broad interpretation of the statute they seek would render it unconstitutionally

overbroad and vague as it would sweep up entirely legal conduct aimed at petitioning

Congressional action if destruction of property did result.

          D.     Rioting and Inciting to Riot

      For all of the reasons discussed throughout this brief, Plaintiffs’ allegation for

conspiracy to incite a riot and aiding and abetting a riot fail. It is improper to assign

liability based on how others perceive one’s speech. See Brandenburg, 395 U.S. at

449; Thomas, 323 U.S. at 535. There also are the issues of res judicata and collateral

estoppel respecting the Senate Impeachment Court’s finding of no fault for the

President on the nearly identical charge of incitement to insurrection8 and the

political question that challenging such a judgment would inevitably raise. See

Bancoult, 445 F.3d at 432.

      Indeed, the Senate’s judgment is further supported by the HSGA report and

Reuters report, both finding that President Trump was not aware of any plan to riot

and that there is scant evidence of any collaborative activity surrounding the January

6 riot. Plaintiffs attempt to assign liability because President Trump and the

Campaign “provid[ed] or solicit[ed] funds, lodging, transportation, organization,

equipment, or other goods or services to help the rioters travel to Washington, D.C.”

(see Am. Compl. ¶ 197) is too attenuated, because this alleged “aid” was provided to



      8
        See Domenico Montanaro, Senate Acquits Trump in Impeachment Trial—
Again, NPR (Feb. 13, 2021), https://www.npr.org/sections/trump-impeachment-trial-
live-updates/2021/02/13/967098840/senate-acquits-trump-in-impeachment-trial-
again.
                                          43
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 54 of 57




all of the peaceful individuals who attended the rally—the fact that some individuals

who ended up rioting may have benefited from this does not amount to the substantial

assistance that could impute liability.

      2.     Assault, Battery, and Negligence

      Plaintiffs attempt to allege that President Trump is liable for the tortious

actions of battery, assault, and negligence on theories of aiding and abetting and

agency. As discussed above, Plaintiffs have not met the standard for pleading

conspiracy. They also fail to plead a case for either aiding and abetting or vicarious

liability through agency.

      The negligence standard in D.C. is familiar and well-established: no defendant

is liable for negligence unless that defendant specifically owes the plaintiff some duty

of care as a matter of law. See Haynesworth v. D.H. Stevens Co., 645 A.2d 1095, 1098

(D.C. 1994) (citing Palsgraf v. Long Island R.R. Co., 248 N.Y. 339 (1928); Presley v.

Commercial Moving & Rigging, Inc., 25 A.3d 873, 888 (D.C. 2011). Once such a legal

duty is established, a plaintiff must show a deviation from that duty and a causal

relationship between that deviation and the harm the plaintiff suffered. See Youseff

v. 3636 Corp., 777 A.2d 787, 792 (D.C. 2001). Here, Plaintiffs can plead none of those

elements, further dooming their negligence claims. Plaintiffs claim President Trump

and the Campaign are liable under this cause of action because they broke criminal

laws (they did not) solely through their speech and the actions of others based on that

speech. Plaintiffs’ claim is woefully insufficient, even at the pleading stage.




                                              44
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 55 of 57




      The statements Plaintiffs allege are insufficient to show negligence. Speakers

at political rallies do not owe a duty of care to members of Congress or Capitol Police

Officers not at the rally. By bringing their negligence claims, Plaintiffs advocate for

another boundless rule with severe ramifications. Since the dawn of the Republic and

before, politicians have expressed their passions in political speeches. The important

First Amendment protections for those speeches have been discussed in detail. But

claiming political speech can give rise to negligence liability is also troubling.

      In essence, Plaintiffs argue that speakers should be vicariously liable for the

acts of the listeners. As a matter of law, political speakers do not owe a legally

enforceable duty of care to their adversaries or others who might find themselves in

the path of impassioned supporters. Like the infamous firework that harmed Ms.

Palsgraf almost a century ago, the harm is simply too remote and unforeseeable to

give rise to a duty of care. See, e.g., Palsgraf, 248 N.Y. at 341, 354. Whether political

speech is negligent is a question for voters, not courts.

      Plaintiffs cannot escape, even at the pleading stage, that the Trump

Defendants acted responsibly. As previously discussed, President Trump simply

called for peaceful and patriotic demonstrations. Should his statements be held

negligent, then district courts will be very busy weighing the legal reasonableness of

statements from thousands of politicians. Aside from the obvious First Amendment

pitfalls, such a rule would put the judiciary in an untenable position.

                                      CONCLUSION

      Plaintiffs’ Amended Complaint should be dismissed, with prejudice.

                                               45
Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 56 of 57




 Dated: December 23, 2021                Respectfully submitted,


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                                  46
     Case 1:21-cv-02265-APM Document 103-1 Filed 12/23/21 Page 57 of 57




                           CERTIFICATE OF SERVICE

      I certify that on December 24, 2021, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



Dated: December 24, 2021                            /s/ Jesse R. Binnall
                                                    Jesse R. Binnall
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                                                    Donald J. Trump for President,
                                                    Inc., and Make America Great
                                                    Again PAC




                                            47
